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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF WEST VIRGINIA


UNITED STATES OF AMERICA,


v.                                                          Criminal No. 1:21MJ27

GEORGE PIERRE TANIOS,

                          Defendant.


                            MOTION FOR PRETRIAL DETENTION

        The United States moves for pretrial detention of defendant pursuant to 18 U.S.C. Section

3142(e) and (f).

        1. Eligibility of Case. This case is eligible for a detention order because the case involves

(check all that apply):

        ___    a crime of violence, a violation of section 1591, or an offense listed in section
               2332b(g)(5)(B) for which a maximum term of imprisonment of 10 years or more is
               prescribed;

        ____   an offense for which the maximum sentence is life imprisonment or death;

               an offense for which a maximum term of imprisonment of ten years or more is
               prescribed in the Controlled Substances Act (21 U.S.C. 801 et seq.), the Controlled
               Substances Import and Export Act (21 U.S.C. 951 et seq.), or chapter 705 of title
               46;

               any felony if such person has been convicted of two or more offenses described in
               subparagraphs (A) through (C) of Title 18 U.S.C. Section 3142(f)(1), or two or
               more State or local offenses that would have been offenses described in
               subparagraphs (A) through (C) of this paragraph if a circumstance giving rise to
               Federal jurisdiction had existed, or a combination of such offenses; or

        ____   any felony that is not otherwise a crime of violence that involves a minor victim or
               that involves the possession or use of a firearm or destructive device (as those terms
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              are defined in section 921), or any other dangerous weapon, or involves a failure to
              register under section 2250 of title 18, United States Code;

          X    Serious risk defendant will flee;

          X    Serious risk obstruction of justice.

       2. Reason for Detention. The court should detain defendant because there are no

conditions of release which will reasonably assure (check one or both):

           X Defendant's appearance as required.

           X Safety of any other person and the community.

       3. Rebuttable Presumption.

       A rebuttable presumption arises that no condition or combination of conditions will

reasonably assure the safety of any other person and the community because:

       ____   a) the defendant has been convicted of a Federal offense that is described in Title
              18 U.S.C. Section 3142(f)(1), or of a State or local offense that would have been an
              offense described in subsection (f)(1) of this section if a circumstance giving rise
              to Federal jurisdiction had existed; b) the offense was committed while the
              defendant was on release pending trial for a Federal, State, or local offense; and c)
              a period of not more than five years has elapsed since the date of conviction, or the
              release of the defendant from imprisonment, for that offense whichever is later.

       A rebuttable presumption arises that that no condition or combination of conditions will

reasonably assure the appearance of the person as required and the safety of the community

because the defendant committed:

              an offense for which a maximum term of imprisonment of ten years or more is
              prescribed in the Controlled Substances Act (21 U.S.C. 801 et seq.), the Controlled
              Substances Import and Export Act (21 U.S.C. 951 et seq.), or chapter 705 of title
              46;

              an offense under section 924(c), 956(a), or 2332b of this title;

       ____   an offense listed in section 2332b(g)(5)(B) of title 18, United States Code, for which
              a maximum term of imprisonment of 10 years or more is prescribed;

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          ____   an offense under chapter 77 of this title for which a maximum term of imprisonment
                 of 20 years or more is prescribed; or

          ____   an offense involving a minor victim under section 1201, 1591, 2241, 2242,
                 2244(a)(1), 2245, 2251, 2251A, 2252(a)(1), 2252(a)(2), 2252(a)(3), 2252A(a)(1),
                 2252A(a)(2), 2252A(a)(3), 2252A(a)(4), 2260, 2421, 2422, 2423, or 2425 of this
                 title.

          4. Time for Detention Hearing. The United States requests the court conduct the detention

hearing

                      At first appearance

                  X After continuance of 3 days (not more than 3)

          5.     Other Matters:

DATED:           March 15, 2021


                                                      Respectfully submitted:

                                                      UNITED STATES OF AMERICA
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